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                                               5
                                                     Attorney for Plaintiff,
                                               6

                                               7

                                               8
                                                                               UNITED STATES DISTRICT COURT
                                               9
                                                                         FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                              10

                                              11

                                              12     MICHAEL TELLEZ,
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                                                                                               Case No.: 5:20-cv-00049
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                                              13                               Plaintiff,
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                                                                                               COMPLAINT FOR:
                                              14     v.
                                                                                                  1. FAILURE TO COMPENSATE FOR
                                              15     AMERICAN INCOME LIFE INSURANCE
                                                                                                     ALL HOURS WORKED
                                              16     COMPANY,
                                                                                                  2. FAILURE TO PAY MINIMUM
                                              17                                                     WAGE
                                              18                               Defendant.
                                                                                                  3. FAILURE TO PROVIDE MEAL
                                              19                                                     AND REST PERIODS

                                              20                                                  4. FAILURE TO FURNISH WAGE
                                                                                                     AND HOUR STATEMENTS
                                              21

                                              22                                                  5. FAILURE TO REIMBURSE
                                                                                                     EXPENSES
                                              23

                                              24                                                  6. FAILURE TO PAY PAID TIME
                                                                                                     OFF ON TERMINATION
                                              25
                                                                                                  7. FAILURE TO PAY FINAL WAGES
                                              26
                                                                                                     ON TIME
                                              27
                                                                                                  8. UNLAWFUL RETALIATION IN
                                              28                                                     VIOLATION OF PUBLIC POLICY
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                                                                                            COMPLAINT
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                                               1

                                               2                                                          9. WRONGFUL TERMINATION IN
                                                                                                             VIOLATION OF PUBLIC POLICY
                                               3

                                               4
                                                                                                          10. DISCRIMINATION AND
                                               5                                                              HARASSMENT

                                               6                                                          11. FAILURE TO PREVENT AND
                                                                                                              INVESTIGATE
                                               7
                                                                                                              DISCRIMINATION AND
                                               8                                                              HARASSMENT

                                               9                                                          12. FAILURE TO PROVIDE
                                                                                                              REASONABLE ACCOMODATION
                                              10

                                              11                                                          13. FAILURE TO ENGAGE IN
                                                                                                              INTERACTIVE PROCESS
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                                              13
                                                                                                          14. INTENTIONAL INFLICTION OF
                                                                                                              EMOTIONAL DISTRESS
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                                              14
                                                                                                          15. UNFAIR BUSINESS PRACTICES
                                              15

                                              16                                                          16. DECLARATORY RELIEF

                                              17

                                              18
                                                                                                      DEMAND FOR TRIAL BY JURY
                                              19

                                              20

                                              21                                             INTRODUCTION

                                              22            This Complaint is brought by Plaintiff Michael Tellez (“Plaintiff” and/or “Mr. Tellez”) on

                                              23     behalf of himself, against his former employer, Defendant American Income Life Insurance
                                              24
                                                     Company (“Defendant” and/or “AILI”). Plaintiff hereby demands a jury trial on all causes of action.
                                              25
                                                     Plaintiff alleges the following:
                                              26
                                                                                                PLAINTIFF
                                              27

                                              28

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                                                                                                 COMPLAINT
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                                               1        1.          At all times material herein Plaintiff Michael Tellez was and is a competent adult and
                                               2
                                                     resident of the State of California, County of Riverside and employed by Defendant AILI as an
                                               3
                                                     insurance sales representative.
                                               4

                                               5                                                   DEFENDANT
                                               6
                                                        2.          At all times material herein, Defendant AILI, was and is an Indiana corporation with
                                               7
                                                     its headquarters and principal place of business at 1200 Wooded Acres Drive, Waco, Texas, 76710.
                                               8

                                               9
                                                        3.          On information and belief, Defendant AILI sells a variety of insurance products,

                                              10     including life, accident, and supplemental health insurance.

                                              11        4.          Plaintiff is informed and believes and thereon alleges that, unless otherwise indicated,
                                              12
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                                                     each individual mentioned herein representing Defendant AILI, was the agent and/or employee of
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                                              13
                                                     Defendant AILI and acting within the course and scope of said agency and/or employment with the
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                                              14
                                                     knowledge and/or consent of Defendant AILI.
                                              15

                                              16                                           JURISDICTION AND VENUE

                                              17        5.          Plaintiff Michael Tellez is a citizen of the State of California. Defendant is a citizen of
                                              18
                                                     both Indiana and Texas, rendering the parties citizens of different states.
                                              19
                                                        6.          Plaintiff is seeking damages in excess of $75,000. Subject matter jurisdiction is
                                              20
                                                     proper pursuant to 28 U.S.C. § 1332(a). Defendant has significant contacts with the Central District
                                              21

                                              22     of California, both general and specific to the subject matter of this action such that Defendant is

                                              23     subject to personal jurisdiction. A substantial part of the events and/or omissions giving rise to
                                              24
                                                     Plaintiff’s causes of action occurred in the Central District of California. Pursuant to 28 U.S.C. §
                                              25
                                                     1391(b), venue is proper.
                                              26
                                                        7.          This Court has jurisdiction over Plaintiff’s claims for damages, interest thereon,
                                              27

                                              28     related penalties, injunctive and other equitable relief, restitution or ill-gotten benefits arising from

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                                                                                                     COMPLAINT
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                                               1     Defendant’s unlawful, unfair, and/or fraudulent business practices, and attorney’s fees and costs
                                               2
                                                     pursuant to, among others, the California Business and Professions Code § 17200-17208, and the
                                               3
                                                     statutes cited herein.
                                               4

                                               5
                                                                               EXHAUSTION OF ADMINISTRATIVE REMEDIES

                                               6          8.           Defendant regularly and systematically do business in the State of California and is

                                               7     subject to suit under, among others, the Fair Employment and Housing Act (“FEHA”) in that
                                               8
                                                     Defendant regularly employ five or more persons. On December 9, 2019, pursuant to California
                                               9
                                                     Government Code § 12965(b), Plaintiff obtained a notice of Right to Sue from the California
                                              10
                                                     Department of Fair Employment and Housing (“DFEH”). Plaintiff is filing this action within one
                                              11

                                              12     year of the date of his DFEH right-to-sue letter, therefore, administrative remedies and procedures
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                                              13     have been properly exhausted.
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                                              14
                                                          9.            The California Worker’s Compensation Act does not preempt this action because
                                              15
                                                     Defendant’s unlawful practices, as alleged herein, are not risks or conditions of employment.
                                              16
                                                          10.            Plaintiff is not required to satisfy any further private, administrative, or judicial
                                              17

                                              18     prerequisites to the institution of this action, insofar as such prerequisites pertain to any of the

                                              19     remaining causes of action in this complain.
                                              20
                                                                                                          FACTS
                                              21
                                                     A.         AILI’s recruitment process and practices
                                              22
                                                          11.         AILI sells life insurance and other insurance policies in the state of California. It
                                              23

                                              24     maintains over twenty offices in California, including AILI’s Ontario-California office located at

                                              25     3200 Inland Empire Blvd, Suite 120, Ontario, CA 91764.
                                              26          12.         Plaintiff is informed and believe, and on that basis alleges, that AILI recruiters are
                                              27
                                                     encouraged to sell the agent position as a full-time, salaried employment opportunity, including, but
                                              28

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                                               1     not limited to the extent of telling agents that they belong to an employee-labor union. At job
                                               2
                                                     interviews with AILI, prospective insurance agents fill out paperwork; AILI then selects individuals
                                               3
                                                     to become insurance agents. Plaintiff was selected as an insurance agent representing AILI.
                                               4

                                               5
                                                          13.          On information and belief, Torchmark Corporation (now Globe Life Inc.) is AILI’s

                                               6     parent company. In connection to independent contractor misclassification, Torchmark Corporation

                                               7     in its 2017 Annual report stated, in bold: “Actual or alleged misclassification of independent
                                               8
                                                     contractors at our insurance subsidiaries could result in adverse legal, tax or financial
                                               9
                                                     consequences.” (Emphasis in original document). In that same report, AILI’s parent company also
                                              10
                                                     contemplated the “risk…that a court, the IRS or other authority will take the position that those sales
                                              11

                                              12     agents are employees.”
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                                              13          14.           Once more, in Torchmark Corporation’s Form 10-K Annual Report with the United
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                                              14
                                                     States Securities and Exchange Commission for fiscal year ended December 31, 2018, Torchmark
                                              15
                                                     Corporation made the same previous statements in connection to misclassification of independent
                                              16
                                                     contractors. Further, the foregoing 10-K filing report included AILI’s parent company assertions
                                              17

                                              18     that “If there is an adverse determination regarding the classification of some or all of the

                                              19     independent contractors at our insurance subsidiaries by a court or governmental agency, we could
                                              20
                                                     incur significant costs with respect to payroll tax liabilities, employee benefits, wage payments, fines,
                                              21
                                                     judgments...”
                                              22
                                                     B.         Plaintiff’s working relationship with AILI
                                              23

                                              24          15.          When Plaintiff began work with AILI after being recruited by AILI’s Ontario office,

                                              25     Plaintiff entered into an “Agent Contract” (hereinafter the “Contract”) with AILI on or about August
                                              26     31, 2017. The contract states: “The Agent is not an employee of the Company; rather, the agent is an
                                              27
                                                     independent contractor. The agent has no fixed hours and is free to choose the time and manner in
                                              28

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                                                                                                    COMPLAINT
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                                               1     which services are performed.” Exhibit A of the Contract further provides that Plaintiff could not
                                               2
                                                     “pursue” other “insurance-related business ventures while contracted” with AILI.
                                               3
                                                        16.           The Contract with Plaintiff included a clause stating that “Agent’s right to receive
                                               4

                                               5
                                                     renewal commissions shall vest in accordance with the union agreement with OPEIU Local 277.”

                                               6     The OPEIU Local 277 in its website states that “Your right to form a union is protected by long-

                                               7     standing U.S. labor laws.” In addition, it states that “By joining together with your co-workers you
                                               8
                                                     can build an employee organization that gives you a real say over your job…and ensures a better
                                               9
                                                     economic future for you and your co-workers.” Further, the foregoing OPEIU Local 277 in its
                                              10
                                                     website states that “Union Make a Difference” in that “Benefits” are “Protected by the contract.
                                              11

                                              12     Changes can only be made with employee approval” and that “Employees have a protected way to
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                                              13     challenge any unfair or questionable treatment” with the “support and representation from their
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                                              14
                                                     union.” The Contract also states that “after termination, the Agent will never use…Company-
                                              15
                                                     provided union or credit union membership records…”
                                              16
                                                        17.          The Contract lays out a commission schedule for agents; it also states: “The Agent
                                              17

                                              18     shall be responsible for all expenses incurred in the production of insurance for the Company. The

                                              19     Agent shall, at his or her own expenses, furnish his or her own means of transportation…and any
                                              20
                                                     other relevant expenses incurred in the solicitation of insurance for the company.”
                                              21
                                                        18.          The Contract includes an arbitration provision, stating that “all disputes, claims,
                                              22
                                                     questions and controversies of any kind or nature arising out of or relating to this Contract, any
                                              23

                                              24     alleged violation of any state or federal statute, regulation, law or order of any

                                              25     kind…including…claims for wrongful termination, discrimination, wage-and-hour violations, or any
                                              26     other claim based on an alleged employment relationship…shall be submitted to binding
                                              27
                                                     arbitration…”
                                              28

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                                               1        19.         The Contract also includes non-compete and non-solicitation provisions stating that
                                               2
                                                     “After termination, the Agent will never: (a) Directly or indirectly contact AIL policyholders to
                                               3
                                                     attempt to induce them to terminate their respective policies…(b) Attempt to induce representatives
                                               4

                                               5
                                                     of the Company to end their respective relationships with the Company…” Further, another non-

                                               6     compete provision states that “For one year after termination of this contract, the Agent will not

                                               7     engage in the life or health insurance business in any territory worked by the agent…” As such, prior
                                               8
                                                     to the commencement of the employment relationship between Plaintiff and Defendant, AILI
                                               9
                                                     required Plaintiff to sign an agreement which included non-compete and non-solicitations clauses.
                                              10
                                                        20.         In addition, the Contract states that such “shall be construed in accordance with and
                                              11

                                              12     governed by the laws of the state of Texas without regard to choice of law principles.”
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                                              13        21.         After Plaintiff was recruited as an agent, Plaintiff was under AILI’s enduring training,
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                                              14
                                                     lasting at minimum several weeks. Plaintiff frequently worked more than eight hours per day, and
                                              15
                                                     worked six or more days per week while training. However, considering that no sales are produced
                                              16
                                                     from Plaintiff to AILI during the training period, and because Plaintiff’s compensation was
                                              17

                                              18     commission-based, Plaintiff did not earn any money during training.

                                              19        22.         AILI coordinated and regulated Plaintiff’s schedule, requiring off-site sales meetings
                                              20
                                                     with potential insurance buyers to happen at certain times and days of the week, including weekends,
                                              21
                                                     or in-office sales meetings and calls to occur at certain times and days of the week.
                                              22
                                                        23.         AILI discouraged Plaintiff from having other jobs in order to maximize Plaintiff’s
                                              23

                                              24     time. Plaintiff was required to hold a valid and proper insurance license in order to produce

                                              25     insurance policies for AILI, but because of the non-compete provisions under the Contract, Plaintiff
                                              26     was discouraged from seeking other forms of income in the insurance industry.
                                              27

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                                                                                                   COMPLAINT
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                                               1          24.         Plaintiff was not paid minimum wage or overtime pay by AILI. Also, AILI did not
                                               2
                                                     provide meals and rest breaks which are required by California employment laws, and AILI failed to
                                               3
                                                     pay for said missed breaks. AILI also required Plaintiff to pay for legitimate business expenses
                                               4

                                               5
                                                     incurred in the performance of his job, including gasoline for driving to sales meetings, agent

                                               6     licensing fees and courses, office expenses, telecommunication expenses, internet, and state-

                                               7     mandated fingerprint requirements. Further, Plaintiff was not paid during his training period with
                                               8
                                                     AILI.
                                               9
                                                          25. Defendant’s Paid-Time-Off (“PTO”) policy which provided for accrual and vesting of
                                              10
                                                     vacation PTO was located in Defendant’s website and can be accessed at
                                              11

                                              12     https://www.ailife.com/CareerSearch/ourbenefits. The policy provided for PTO “upon the completion of 6
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                                              13     months of employment.”
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                                              14     C.         Plaintiff’s employment termination
                                              15
                                                          26.         On or about September 2017, while Plaintiff worked for AILI, Plaintiff began
                                              16
                                                     experiencing health problems including stomach pain. Plaintiff was prescribed medication,
                                              17
                                                     nevertheless an ultra-sound found a cyst on Plaintiff’s left kidney and a mass on Plaintiff’s right
                                              18

                                              19     kidney. A Computed Tomography Scan or CT Scan followed, and Plaintiff was thereafter on or

                                              20     about November 16, 2017 diagnosed with Cancer on his right kidney. Plaintiff informed his
                                              21
                                                     immediate manager at AILI about his health condition and Plaintiff thereafter applied for Cancer
                                              22
                                                     Insurance at AILI.
                                              23
                                                          27.         After Plaintiff’s application for Cancer Insurance at AILI, Plaintiff received several
                                              24

                                              25     letters dated December 4, 2017 in which AILI denied his Cancer Insurance application because of his

                                              26     health history disclosed within Plaintiff’s Cancer Insurance application with AILI.
                                              27

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                                               1        28.         Plaintiff continued to work at AILI, driving to work meetings and producing insurance
                                               2
                                                     business for AILI. Plaintiff was qualified for the position as a sales representative for AILI and was
                                               3

                                               4     performing competently in such position and continued to produce business for Defendant
                                               5
                                                     notwithstanding his medical condition, however, because of Plaintiff’s Cancer disease, medication
                                               6

                                               7     and secondary effects, Plaintiff was not able to meet AILI’s imposed sales quota.
                                               8
                                                        29.         After the birth of Plaintiff’s child, Plaintiff informed his immediate manager about
                                               9

                                              10     Plaintiff’s need to take some unpaid time off due to his child’s birth, nevertheless, due to AILI’s sales
                                              11
                                                     quota requirements and AILI’s pressure to meet the sales quota, Plaintiff continued to work without
                                              12
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                                              13     taking complete time off from work.
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                                              14
                                                        30.          Plaintiff’s immediate manager informed Plaintiff that the Ontario Office Management
                                              15

                                              16     had said that “other agents had gone through cancer and worked and did well.”
                                              17
                                                        31.         Plaintiff continued working while continuing Cancer treatment and waiting for a
                                              18

                                              19     surgery in connection to Plaintiff’s cancer. On or about April 2018, Plaintiff’s right kidney was
                                              20
                                                     removed due to the size of the cancer tumor. Plaintiff informed his manager about this surgery prior
                                              21

                                              22     to being hospitalized and also post-surgery in order to keep him updated on his health status and
                                              23
                                                     condition.
                                              24

                                              25        32.         Plaintiff’s cancer treatment prior to and post-surgery required Plaintiff to rest,
                                              26
                                                     however, due to AILI’s sales quota requirements and pressure from AILI, Plaintiff continued to
                                              27

                                              28

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                                                                                                    COMPLAINT
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                                               1   attend meetings and produce business for AILI, nevertheless, due to Plaintiff’s health condition, he
                                               2
                                                   was not able to meet AILI’s sales quotas.
                                               3

                                               4      33.         Notwithstanding AILI’s knowledge of Plaintiff’s health condition, on or about March
                                               5
                                                   28, 2018, Plaintiff received a letter from AILI, indicating that Plaintiff has “not submitted any new
                                               6

                                               7   business in the past four weeks.” Further, the letter stated that “If no business is submitted within the
                                               8
                                                   next 30 days” AILI’s March 28, 2018 letter “will serve as 30 days notice of termination” of his
                                               9

                                              10   relationship with AILI.
                                              11
                                                      34.         On or about April 29, 2018, Plaintiff received another AILI’s letter informing him that
                                              12
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                                              13   his termination with AILI was “effective” on “04/27/2019.” The letter required Plaintiff to “return”
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                                              14   any “company materials” to AILI.
                                              15      35.         Upon Plaintiff’s termination, Defendant did not provide Plaintiff with any PTO or
                                              16
                                                   accrued wages. Further, Defendant did not provide Plaintiff with the means to verify all PTO and
                                              17
                                                   accrued wages.
                                              18

                                              19
                                                                                               CHOICE OF LAW

                                              20      36.         Under California Labor Code § 925, employers cannot require employees who primarily

                                              21   reside and work in California to agree to a contract provision that would deprive the employee of the
                                              22
                                                   substantive protections of California laws where the controversy arises in California.
                                              23
                                                      37.         Further, subsection (c) under the foregoing labor code section provides that “a court
                                              24
                                                   may award an employee who is enforcing his or her rights under this section reasonable attorney’s
                                              25

                                              26   fees.”

                                              27

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                                                                                                  COMPLAINT
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                                               1      38.          Plaintiff resides and worked for AILI in California. Therefore, California law applies
                                               2
                                                   to Plaintiff’s claim and Plaintiff is entitled to reasonable attorneys’ fees for enforcing his rights as per
                                               3
                                                   California Labor Code § 925(c).
                                               4

                                               5
                                                                                                  FIRST CLAIM

                                               6                       FAILURE TO COMPENSATE FOR ALL HOURS WORKED

                                               7      39.         Plaintiff re-alleges the paragraphs above as if set forth fully herein.
                                               8
                                                      40.         Defendant was required to compensate Plaintiff for all hours worked pursuant to the
                                               9
                                                   Industrial Welfare Commission Order 1-2001, California Code of Regulations, Title 8, Chapter 5, §
                                              10
                                                   11070 and Labor Code §§ 200-204, 225.5, 500, 510, 558, 1197, 1198.
                                              11

                                              12      41.         Labor Code § 1194 invalidates any agreement between an employer and an employee
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                                              13   to work for less than the minimum or overtime wage required under the applicable Wage Orders.
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                                              14
                                                      42.         Labor Code § 1194.2 entitles non-exempt employees to recover liquidated damages in
                                              15
                                                   amounts equal to the amounts of unpaid minimum wages and interest thereon in addition to the
                                              16
                                                   underlying unpaid minimum wages and interest.
                                              17

                                              18      43.         Labor Code § 1197 makes it unlawful to for an employer to pay an employee less than

                                              19   the minimum wage required under the applicable Wage Orders for all hours worked.
                                              20
                                                      44.         Labor Code § 1197.1 provides that it is unlawful for any employer or any other person
                                              21
                                                   acting either individually or as an officer, agent , or employee of another person, to pay an employee,
                                              22
                                                   or cause an employee to be paid, less than the applicable minimum wage.
                                              23

                                              24      45.         As alleged in this Complaint, Defendant refused to compensate Plaintiff for some

                                              25   and/or all of the wages – including overtime wages – earned by Plaintiff, in violation of the
                                              26   applicable California Wage Order, Title 8 of the California Code of Regulations and the California
                                              27
                                                   Labor Code.
                                              28

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                                                                                                   COMPLAINT
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                                               1       46.         At all relevant times, Defendant was aware of, and was under a duty to comply with
                                               2
                                                   the wage and overtime provisions of the California Labor Code, including, but not limited to
                                               3
                                                   California Labor Code §§ 200-204, 216, 255.5, 500, 510, 558, 1197, 1198. Plaintiff is not exempt
                                               4

                                               5
                                                   from the requirements of the Employment Laws and Regulations. Plaintiff have been deprived of his

                                               6   rightfully earned compensation as a direct and proximate result of Defendant’s failure and refusal to

                                               7   pay the above-mentioned compensation. Under California employment laws and regulations,
                                               8
                                                   Plaintiff is entitled to recover compensation for all hours worked, in addition to reasonable attorney’s
                                               9
                                                   fees and costs of suit.
                                              10
                                                       47.         Labor Code § 216 provides, “In addition to any other penalty imposed by this article,
                                              11

                                              12   any person, or an agent, manager, superintendent, or officer thereof is guilty of a misdemeanor, who:
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                                              13   (a) Having the ability to pay, willfully refuses to pay wages due and payable after demand has been
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                                              14
                                                   made. (b) Falsely denies the amount or validity thereof, or that the same is due, with intent to secure
                                              15
                                                   for himself, his employer or other person, any discount upon such indebtedness, or with intent to
                                              16
                                                   annoy, harass, oppress, hinder, delay, or defraud, the person to whom such indebtedness is due.”
                                              17

                                              18       48.         As a direct and proximate result of Defendant’s unlawful conduct and violations, as

                                              19   set forth herein, Plaintiff has sustained damages, including loss of earnings for hours worked,
                                              20
                                                   including overtime and double time hours worked, in an amount to be established at trial. Plaintiff is
                                              21
                                                   also entitled to recover attorney’s fees and costs of suit.
                                              22
                                                                                                SECOND CLAIM
                                              23

                                              24                                    FAILURE TO PAY MINIMUM WAGE

                                              25       49.         Plaintiff re-alleges the paragraphs above as if set forth fully herein.
                                              26       50.         During all relevant times, Defendant was conscious and aware of, and were under a
                                              27
                                                   duty to comply with California Labor Code § 1194 et seq.
                                              28

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                                                                                                   COMPLAINT
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                                               1      51.         California Labor Code § 1194(a) in relevant part provides: “Notwithstanding any
                                               2
                                                   agreement to work for a lesser wage, any employee receiving less than the legal minimum wage or
                                               3
                                                   the legal overtime compensation applicable to the employee is entitled to recover in a civil action the
                                               4

                                               5
                                                   unpaid balance of the full amount of this minimum wage or overtime compensation, including

                                               6   interest thereon, reasonable attorney’s fees, and costs of suit.”

                                               7      52.         In addition, California Labor Code § 1197 provides: “The minimum wage for
                                               8
                                                   employees fixed by the commission or by any applicable state or local law, is the minimum wage to
                                               9
                                                   be paid to employees, and the payment of a lower wage than the minimum so fixed is unlawful.”
                                              10
                                                      53.         Further, California Labor Code § 1194.2(a) states: “In any action under
                                              11

                                              12   Section…1193.6, 1194, or 1197.1 to recover wages because of the payment of a wage less than the
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                                              13   minimum wage fixed by an order of the commission or by statute, an employee shall be entitled to
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                                              14
                                                   recover liquidated damages in an amount equal to the wages unlawfully unpaid and interest thereon.”
                                              15
                                                      54.         California Labor Code § 223 provides: “Where any statute or contract requires an
                                              16
                                                   employer to maintain the designated wage scale, it shall be unlawful to secretly pay a lower wage
                                              17

                                              18   while purporting to pay the wage designated by statute or by contract.” Plaintiff in this case

                                              19   performed overtime and double time work for Defendant, however, payment for Plaintiff’s overtime
                                              20
                                                   and double time work remains unpaid. Therefore, Defendant is liable for an additional violation to
                                              21
                                                   the extent Defendant secretly payed less than the designated wage scale.
                                              22
                                                      55.         Defendant employed Plaintiff; however, Plaintiff did not receive the applicable
                                              23

                                              24   minimum wage for all hours worked on Defendant’s behalf. The foregoing non-payment was the

                                              25   direct and proximate result of a willful refusal to do so by Defendant.
                                              26      56.         As a direct and proximate result of Defendant’s unlawful conduct as set forth herein,
                                              27
                                                   Plaintiff has sustained damages, including loss of earnings for hours worked on behalf of Defendant,
                                              28

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                                               1   in an amount to be established at trial, and Plaintiff is entitled to recover attorney’s fees and costs of
                                               2
                                                   suit.
                                               3
                                                                                                 THIRD CLAIM
                                               4

                                               5
                                                                          FAILURE TO PROVIDE MEAL AND REST PERIODS

                                               6       57.        Plaintiff re-alleges the paragraphs above as if set forth fully herein.

                                               7       58.        At all relevant times, Defendant was aware of and was under a duty to comply with
                                               8
                                                   California Labor Code §§ 226.7 and 512 and applicable sections of the Industrial Welfare
                                               9
                                                   Commission Wage Orders (“IWC Wage Orders” or “IWC Wage Order”).
                                              10
                                                       59.        California Labor Code § 226.7 provides: “(b) An employer shall not require an
                                              11

                                              12   employee to work during a meal or rest or recovery period mandated pursuant to an applicable
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                                              13   statute, or applicable regulation, standard, or order of the Industrial Welfare Commission, the
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                                              14
                                                   Occupational Safety and Health Standards Board, or the Division of Occupational Safety and Health.
                                              15
                                                   (c) If an employer fails to provide an employee a meal or rest or recovery period in accordance with a
                                              16
                                                   state law, including, but not limited to, an applicable statute or applicable regulation, standard, or
                                              17

                                              18   order of the Industrial Welfare Commission, the Occupational Safety and Health Standards Board, or

                                              19   the Division of Occupational Safety and Health, the employer shall pay the employee one additional
                                              20
                                                   hour of pay at the employee’s regular rate of compensation for each workday that the meal or rest or
                                              21
                                                   recovery period is not provided.
                                              22
                                                       60.        In addition, California Labor Code § 512 states: “(a) An employer shall not employ
                                              23

                                              24   an employee for a work period of more than five hours per day without providing the employee with

                                              25   a meal period of not less than 30 minutes, except that if the total work period per day of the employee
                                              26   is no more than six hours, the meal period may be waived by mutual consent of both the employer
                                              27
                                                   and employee. An employer shall not employ an employee for a work period of more than 10 hours
                                              28

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                                                                                                   COMPLAINT
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                                               1   per day without providing the employee with a second meal period of not less than 30 minutes,
                                               2
                                                   except that if the total hours worked is no more than 12 hours, the second meal period may be waived
                                               3
                                                   by mutual consent of the employer and the employee only if the first meal period was not waived.”
                                               4

                                               5
                                                      61.         Section 11 of the IWC Order No. 5-2001 provides: “(A) No employer shall employ

                                               6   any person for a work period of more than five (5) hours without a meal period of not less than 30

                                               7   minutes, except that when a work period of not more than six (6) hours will complete the day’s work
                                               8
                                                   the meal period may be waived by mutual consent of the employer and employee. Unless the
                                               9
                                                   employee is relieved of all duty during a 30-minute meal period, the meal period shall be considered
                                              10
                                                   an "on duty" meal period and counted as time worked. An "on duty" meal period shall be permitted
                                              11

                                              12   only when the nature of the work prevents an employee from being relieved of all duty and when by
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                                              13   written agreement between the parties an on-the-job paid meal period is agreed to. The written
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                                              14
                                                   agreement shall state that the employee may, in writing, revoke the agreement at any time. (B) If an
                                              15
                                                   employer fails to provide an employee a meal period in accordance with the applicable provisions of
                                              16
                                                   this Order, the employer shall pay the employee one (1) hour of pay at the employee’s regular rate of
                                              17

                                              18   compensation for each work day that the meal period is not provided.”

                                              19      62.         Further, Section 12 of the IWC Order no. 5-2001 in relevant part states: “(A) Every
                                              20
                                                   employer shall authorize and permit all employees to take rest periods, which insofar as practicable
                                              21
                                                   shall be in the middle of each work period. The authorized rest period time shall be based on the total
                                              22
                                                   hours worked daily at the rate of ten (10) minutes net rest time per four (4) hours or major fraction
                                              23

                                              24   thereof… (B) If an employer fails to provide an employee a rest period in accordance with the

                                              25   applicable provisions of this Order, the employer shall pay the employee one (1) hour of pay at the
                                              26   employee’s regular rate of compensation for each work day that the rest period is not provided.”
                                              27

                                              28

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                                                                                                 COMPLAINT
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                                               1      63.         Defendant required Plaintiff to work at minimum three and one-half hours without a
                                               2
                                                   rest period of at least 10 minutes and failed to compensate the Plaintiff for said missed rest periods, as
                                               3
                                                   required by California Labor Code §§ 226.7 and IWC Orders.
                                               4

                                               5
                                                      64.         Defendant routinely required Plaintiff to work more than six hours without a second

                                               6   rest period of at least 10 minutes and failed to compensate Plaintiff for such missed rest periods, as

                                               7   required by California Labor Code §§ 226.7 and IWC Wage Orders.
                                               8
                                                      65.         On some occasions, Defendant required Plaintiff to work more than ten hours without
                                               9
                                                   a third rest period of at least 10 minutes and failed to compensate Plaintiff for such missed rest
                                              10
                                                   periods, as required by California Labor Code §§ 226.7 and IWC Wage Orders.
                                              11

                                              12      66.         Defendant routinely required Plaintiff to work more than five hours without a meal
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                                              13   period of at least 30 minutes and failed to compensate the Plaintiff for said missed meal periods, as
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                                              14
                                                   require by California Labor Code §§ 226.7 and 512, and the IWC Wage Orders.
                                              15
                                                      67.         On some occasions, Defendant required Plaintiff to work more than ten hours without
                                              16
                                                   a second meal period of at least 30 minutes and failed to compensate the Plaintiff for said missed
                                              17

                                              18   meal periods, as required by California Code §§ 226.7 and 512, and IWC Wage Orders.

                                              19      68.         Defendant refused to provide Plaintiff with one hour of compensation for these
                                              20
                                                   violations as mandated by California Law. Plaintiff is informed and believes, and, on that basis,
                                              21
                                                   alleges that Defendant has never paid the foregoing one-hour of compensation to him.
                                              22
                                                      69.         Plaintiff is not exempt from the meal and rest period obligations of the Employment
                                              23

                                              24   Laws and Regulations as stated above.

                                              25      70.         Plaintiff did not voluntarily waive, through mutual consent with the Defendant, any
                                              26   meal or rest period requirement.
                                              27

                                              28

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                                                                                                  COMPLAINT
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                                               1       71.         Defendant did not pay premium payments to Plaintiff for missed meal periods. Also,
                                               2
                                                   Defendant did not pay premium payments to Plaintiff for missed rest periods.
                                               3
                                                       72.         Plaintiff has been deprived of his rightfully earned compensation for rest periods as a
                                               4

                                               5
                                                   direct and proximate result of Defendant’s failure and refusal to pay such compensation. Plaintiff is

                                               6   entitled to recover such amounts pursuant to California Labor Code § 226.7(b), plus interest thereon,

                                               7   and costs of suit.
                                               8
                                                       73.         Plaintiff has been deprived of his rightfully earned compensation for meal periods as a
                                               9
                                                   direct and proximate result of Defendant’s failure and refusal to pay such compensation. Plaintiff is
                                              10
                                                   entitled to recover such amounts pursuant to California Labor Code § 226.7(b), plus interest thereon,
                                              11

                                              12   and costs of suit.
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                                              13       74.         As a direct and proximate result of Defendant’s unlawful conduct as set forth herein,
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                                              14
                                                   Plaintiff has sustained damages, including lost compensation resulting from missed meal and rest
                                              15
                                                   periods, in an amount to be established at trial. As a further direct and proximate result of
                                              16
                                                   Defendant’s unlawful conduct, as set forth herein, Plaintiff is entitled to recover “waiting time” and
                                              17

                                              18   other penalties, in an amount to be established at trial, plus costs, attorney’s fees and restitution,

                                              19   pursuant to statute.
                                              20
                                                                                                FOURTH CLAIM
                                              21
                                                                          FAILURE TO FURNISH WAGE AND HOUR STATEMENTS
                                              22
                                                       75.         Plaintiff re-alleges the paragraphs above as if set forth fully herein.
                                              23

                                              24       76.         California Labor Code § 226(a) provides

                                              25       “An employer, semimonthly or at the time of each payment of wages, shall furnish to his or
                                                       her employee, either as a detachable part of the check, draft, or voucher paying the employee’s
                                              26
                                                       wages, or separately if wages are paid by personal check or cash, an accurate itemized
                                              27       statement in writing showing (1) gross wages earned, (2) total hours worked by the employee,
                                              28
                                                       except as provided in subdivision (j), (3) the number of piece-rate units earned and any

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                                               1     applicable piece rate if the employee is paid on a piece-rate basis, (4) all deductions, provided
                                               2     that all deductions made on written orders of the employee may be aggregated and shown as
                                                     one item, (5) net wages earned, (6) the inclusive dates of the period for which the employee is
                                               3
                                                     paid, (7) the name of the employee and only the last four digits of his or her social security
                                               4     number or an employee identification number other than a social security number, (8) the name
                                                     and address of the legal entity that is the employer and, if the employer is a farm labor
                                               5
                                                     contractor, as defined in subdivision (b) of Section 1682, the name and address of the legal
                                               6     entity that secured the services of the employer, and (9) all applicable hourly rates in effect
                                                     during the pay period and the corresponding number of hours worked at each hourly rate by
                                               7
                                                     the employee and, beginning July 1, 2013, if the employer is a temporary services employer
                                               8     as defined in Section 201.3, the rate of pay and the total hours worked for each temporary
                                                     services assignment. The deductions made from payment of wages shall be recorded in ink or
                                               9
                                                     other indelible form, properly dated, showing the month, day, and year, and a copy of the
                                              10     statement and the record of the deductions shall be kept on file by the employer for at least
                                              11
                                                     three years at the place of employment or at a central location within the State of California.”

                                              12     77.        California Labor Code § 226(e)(2) provides that:
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                                              13
                                                     “(A) An employee is deemed to suffer injury for purposes of this subdivision if the employer
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                                              14     fails to provide a wage statement.

                                              15     (B) An employee is deemed to suffer injury for purposes of this subdivision if the employer
                                                     fails to provide accurate and complete information as required by any one or more of items
                                              16
                                                     (1) to (9), inclusive, of subdivision (a) and the employee cannot promptly and easily
                                              17     determine from the wage statement alone one or more of the following:

                                              18     (i) The amount of the gross wages or net wages paid to the employee during the pay period or
                                                     any of the other information required to be provided on the itemized wage statement pursuant
                                              19
                                                     to items (2) to (4), inclusive, (6), and (9) of subdivision (a).
                                              20     (ii) Which deductions the employer made from gross wages to determine the net wages paid
                                              21     to the employee during the pay period. Nothing in this subdivision alters the ability of the
                                                     employer to aggregate deductions consistent with the requirements of item (4) of subdivision
                                              22
                                                     (a).
                                              23     (iii) The name and address of the employer and, if the employer is a farm labor contractor, as
                                              24     defined in subdivision (b) of Section 1682, the name and address of the legal entity that
                                                     secured the services of the employer during the pay period.
                                              25
                                                     (iv) The name of the employee and only the last four digits of his or her social security
                                              26     number or an employee identification number other than a social security number.”
                                              27
                                                     78.        California Labor Code § 1174(d) states that:
                                              28

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                                                                                                COMPLAINT
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                                               1       “Every person employing labor in this state shall: (d) Keep, at a central location in the state or at
                                               2      the plants or establishments at which employees are employed, payroll records showing the hours
                                                      worked daily by and the wages paid to, and the number of piece-rate units earned by and any
                                               3
                                                      applicable piece rate paid to, employees employed at the respective plants or establishments.
                                               4      These records shall be kept in accordance with rules established for this purpose by the
                                                      commission, but in any case shall be kept on file for not less than three years. An employer shall
                                               5
                                                      not prohibit an employee from maintaining a personal record of hours worked, or, if paid on a
                                               6      piece-rate basis, piece-rate units earned.”
                                               7
                                                      79.         Defendant knowingly and intentionally failed to comply with the foregoing provisions
                                               8
                                                   by knowingly and intentionally failing to furnish Plaintiff with accurate, itemized written statements
                                               9
                                                   showring their actual and total hours worked, including all overtime hours.
                                              10

                                              11      80.         On information and belief, Defendant failed to accurately record meal periods as

                                              12   mentioned above, to pay meal and rest period premium wages for Plaintiff’s missed meals and rest
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                                              13
                                                   periods, and to report those meal period premium payments on wage statements.
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                                              14
                                                      81.         California Labor Code § 226(e)(1) further states that:
                                              15
                                                       “An employee suffering injury as a result of a knowing and intentional failure by an employer to
                                              16
                                                      comply with subdivision (a) is entitled to recover the greater of all actual damages or fifty dollars
                                              17      ($50) for the initial pay period in which a violation occurs and one hundred dollars ($100) per
                                              18
                                                      employee for each violation in a subsequent pay period, not to exceed an aggregate penalty of
                                                      four thousand dollars ($4,000), and is entitled to an award of costs and reasonable attorney’s
                                              19      fees.”
                                              20      82.         Plaintiff is not exempt from the requirements of the Employment Laws and

                                              21   Regulations and as a direct an proximate result of Defendant’s unlawful actions, Plaintiff has
                                              22   suffered economic harm as he has been precluded from accurately monitoring the number of hours
                                              23
                                                   worked, monitoring accrual hours of sick leave and therefore, seeking all accrued pay.
                                              24
                                                      83.         According to Defendant’s conduct as alleged herein, Defendant is liable for damages
                                              25

                                              26
                                                   and statutory penalties pursuant to California Labor Code § 226, and other applicable statutes and

                                              27   provisions of the Employment Laws and Regulations in amounts to be established at trial, including,

                                              28   attorney’s fees and costs pursuant to statute.
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                                                                                                    COMPLAINT
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                                               1                                                  FIFTH CLAIM
                                               2
                                                                                   FAILURE TO REIMBURSE EXPENSES
                                               3
                                                      84.          Plaintiff re-alleges the paragraphs above as if set forth fully herein.
                                               4

                                               5
                                                      85.          California Labor Code § 2802 (a) provides in pertinent part that “An employer shall

                                               6   indemnify his or her employee for all necessary expenditures or losses incurred by the employee in

                                               7   direct consequence of the discharge of his or her duties, or of his or her obedience to the directions of
                                               8
                                                   the employer…” In addition, Wage Order No. 4 § 9 requires an employer to provide required tools
                                               9
                                                   or equipment.
                                              10
                                                      86.          Defendant did not indemnity Plaintiff for his expenses, nor provide him with
                                              11

                                              12   necessary tools. Rather, Plaintiff was required to pay for his own expenses, including gasoline for
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                                              13   driving to sales meetings, professional certification and state-mandated fingerprint requirements.
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                                              14
                                                      87.          Plaintiff is entitled to reimbursement for his business expenses and equipment
                                              15
                                                   purchases, plus interest thereon, as well as reasonable attorney’s fees and costs.
                                              16
                                                                                                  SIXTH CLAIM
                                              17

                                              18                         FAILURE TO PAY PAID TIME OFF ON TERMINATION

                                              19      88.       Plaintiff re-alleges the paragraphs above as if set forth fully herein.
                                              20
                                                      89.       Once an employee accrues vacation time, that time is treated as compensation and
                                              21
                                                   cannot be forfeited without compensation. Pursuant to California Labor Code section 227.3,
                                              22

                                              23   accrued but unused vacation time constitutes “wages” that must be paid to the employee at the
                                              24
                                                   employee’s regular rate of pay at the time of termination. An employer may not adopt policies
                                              25

                                              26   that require forfeiture of vested vacation time without compensation.

                                              27
                                                      90.       Defendant’s Paid Time Off (“PTO”) policy constituted a vacation time policy
                                              28

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                                                                                                   COMPLAINT
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                                               1   subject to Labor Code section 227.3. Plaintiff had accrued but unused vacation time upon his
                                               2
                                                   termination from employment with Defendant, but Defendant failed and refused to pay Plaintiff
                                               3

                                               4   for the value of that time upon termination. Accordingly, Defendant violated California Labor Code

                                               5   provisions including, but not limited to, sections 201, 202 and 227.3.
                                               6
                                                       91.        Plaintiff is entitled to recover unpaid wages for all unused vacation time and other
                                               7

                                               8   applicable provisions of the Employment Laws and Regulations in amounts to be established at

                                               9   trial, as well as attorneys’ fees and costs, pursuant to statute.
                                              10
                                                       92.        At all relevant times herein, Defendant failed to implement a policy and practice
                                              11

                                              12   to pay Plaintiff accrued wages and other compensation due immediately upon termination, as required
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                                              13   by the California Labor Code. As a result, Plaintiff was not paid all compensation due immediately
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                                              14
                                                   upon termination, as required by the California Labor Code.
                                              15

                                              16       93.        Plaintiff is not exempt from these requirements of the Employment Laws and

                                              17   Regulations, and Plaintiff intends to conduct discovery to obtain date to prove that he was not paid all
                                              18
                                                   accrued, vested, vacation PTO.
                                              19
                                                       94.        Based on Defendant’s conduct as alleged herein, Defendant is liable for statutory
                                              20

                                              21    penalties pursuant to California Labor Code section 203 and other applicable provision of the

                                              22    Employment Laws and Regulations in amounts to be established at trial, as well as attorneys’ fees and
                                              23
                                                    costs, pursuant to statute.
                                              24
                                                                                                SEVENTH CLAIM
                                              25
                                                                                  FAILURE TO PAY FINAL WAGES ON TIME
                                              26

                                              27       95.         Plaintiff re-alleges the paragraphs above as if set forth fully herein.

                                              28

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                                                                                                    COMPLAINT
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                                               1      96.         California Labor Code § 201 states that “if an employer discharges an employee, the
                                               2
                                                   wages earned and unpaid at the time of discharge are due and payable immediately.” Section 203(a)
                                               3
                                                   provides that “If an employer willfully fails to pay, without abatement or reduction, in accordance
                                               4

                                               5
                                                   with Sections 201, 201.3, 201.5, 201.6, 201.9, 202,…any wages of an employee who is discharged or

                                               6   who quits, the wages of the employee shall continue as a penalty from the due date thereof at the

                                               7   same rate until paid or until an action therefor is commenced; but the wages shall not continue for
                                               8
                                                   more than 30 days.”
                                               9
                                                      97.         Defendant failed to pay Plaintiff immediately upon AILI’s termination of Plaintiff as
                                              10
                                                   required by the California Labor Code. Defendant notified Plaintiff on April 29, 2018 that Defendant
                                              11

                                              12   terminated Plaintiff on April 27, 2018, however, Defendant failed to pay Plaintiff all wages earned at
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                                              13   the time of termination. In consequence, Plaintiff has not been paid all compensation due
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                                              14
                                                   immediately upon termination, as required by the California Labor Code.
                                              15
                                                      98.         Defendant willfully failed to pay all final wages on time, immediately upon Plaintiff’s
                                              16
                                                   termination, and in doing so, Defendant violated California Labor Code § 202, and as a consequence,
                                              17

                                              18   Defendant is liable for statutory penalties pursuant to California Labor Code § 203 and other

                                              19   applicable provision of the Employment Laws and Regulations in amounts to be established at trial,
                                              20
                                                   as well as attorney’s fees and costs, pursuant to statute.
                                              21
                                                                                                 EIGTH CLAIM
                                              22
                                                                  UNLAWFUL RETALIATION IN VIOLATION OF PUBLIC POLICY
                                              23

                                              24      99.         Plaintiff re-alleges the paragraphs above as if set forth fully herein.

                                              25      100.        Jurisdiction is invoked in this court pursuant to the public policy and common law
                                              26   of the State of California, pursuant to Tameny v. Atlantic Richfield Company, 27 Cal. 3d 167 (1980).
                                              27
                                                      101.        Under the umbrella of California law, there is a fundamental and established public
                                              28

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                                               1   Policy against discrimination, harassment or retaliation based on the fact that the employee has, inter
                                               2
                                                   alia, a protected characteristic. The foregoing public policy is manifested in the Constitution of the
                                               3
                                                   State of California and California Labor Code § 98.6, among others. Adverse employment actions
                                               4

                                               5
                                                   taken by an employer which are triggered by the fact that an employee has a protected characteristic

                                               6   are contrary to the aforementioned public policy and therefore, actionable under the common law of

                                               7   the State of California.
                                               8
                                                      102.         California Labor Code sections 98.6 provides, “(a) A person shall not discharge an
                                               9
                                                   employee or in any manner discriminate, retaliate, or take any adverse action against any employee or
                                              10
                                                   applicant for employment because the employee or applicant engaged in any conduct delineated in
                                              11

                                              12   this chapter [i.e. Labor Code §§ 79-107], including the conduct described in subdivision (k) of
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                                              13   section 96, and Chapter 5 [i.e. Labor Code §§ 1101-1106] (commencing with section 1101) of Part 3
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                                              14
                                                   of Division 2, …or because of the exercise by the employee or applicant for employment on behalf of
                                              15
                                                   himself, herself, or others of any rights afforded him or her.” Any person whose rights are violated
                                              16
                                                   according to Labor Code section 98.6(a) “shall be entitled to reinstatement and reimbursement for
                                              17

                                              18   lost wages and work benefits caused by those acts of the employer.” Lab. Code § 98.6(b)(1). “In

                                              19   addition to other remedies available, an employer who violates this section is liable for a civil penalty
                                              20
                                                   not exceeding ten thousand dollars ($10,000) per employee for each violation of this section, to be
                                              21
                                                   awarded to the employee or employees who suffered the violation.” Lab. Code § 98.6(b)(3).
                                              22
                                                      103.         Government Code § 12940(m)(2) provides that it is an unlawful employment
                                              23

                                              24   practice “[f]or an employer or other entity covered by this part to, in addition to the employee

                                              25   protections provided pursuant to subdivision (h), retaliate or otherwise discriminate against a
                                              26   person for requesting accommodation under this subdivision, regardless of whether the request
                                              27
                                                   was granted.”
                                              28

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                                               1      104.        Defendant violated the foregoing section 98.6 and Government Code § 12940 in that
                                               2
                                                   Plaintiff was discriminated and retaliated against due to Plaintiff’s medical condition which AILI
                                               3
                                                   perceived as in detriment of their business considering Defendant’s threats of termination included in
                                               4

                                               5
                                                   AILI’s letter dated March 28, 2018. Defendant violated the abovementioned § 98.6 and Government

                                               6   Code § 12940 when AILI retaliated by sending Plaintiff with threats of employment termination

                                               7   despite Plaintiff’s communications to Defendant about his medical condition. Eventually AILI made
                                               8
                                                   good to their threats and terminated Plaintiff because Plaintiff refused Defendant’s implications to not
                                               9
                                                   take reasonable steps to care for his health during the cancer treatment and kidney removal surgery.
                                              10
                                                   Although Plaintiff did his best to keep producing for Defendant during and after his cancer treatment
                                              11

                                              12   and after the removal of Plaintiff’s kidney, AILI decided to terminate Plaintiff. After the foregoing
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                                              13   events, Plaintiff was notified of his termination on April 29, 2018, with effective date of termination
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                                              14
                                                   April 27, 2018.
                                              15
                                                      105.        Defendant terminated Plaintiff’s employment in violation of public policy. Defendant
                                              16

                                              17
                                                   retaliated against Plaintiff because Plaintiff has a protected characteristic and/or engaged in

                                              18   protected activity.
                                              19
                                                      106.        Plaintiff is informed and believes and, based thereon, alleges that Defendant’s
                                              20
                                                   conduct, as described herein, was substantially motivated by Plaintiff’s engagement in protected
                                              21

                                              22   activity, and in consequence, Defendant subjected him to an adverse employment action, i.e.,

                                              23   Defendant’s threats of termination and Plaintiff’s termination on April 27, 2019.
                                              24
                                                      107.        The conduct of Defendant described herein above was outrageous and was executed
                                              25
                                                   with malice, fraud and oppression, and with conscious disregard for Plaintiff’s rights, and further,
                                              26

                                              27   with the intent, design and purpose of injuring Plaintiff.

                                              28

                                                                                                   - 24 –
                                                                                                 COMPLAINT
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                                               1       108.        As a proximate result of Defendant’s wrongful acts, Plaintiff has suffered, and
                                               2
                                                   continues to suffer, substantial losses incurred in seeking substitute employment and in earnings,
                                               3
                                                   bonuses, deferred compensation, and other employment benefits; and has suffered, and continues
                                               4

                                               5   to suffer, emotional distress in an amount according to proof at the time of trial.
                                               6
                                                       109.        Defendant, through their officers, managing agents, and/or their supervisors,
                                               7
                                                   authorized, condoned and/or ratified the unlawful conduct described herein above. By reason
                                               8

                                               9
                                                   thereof, Plaintiff is entitled to an award of punitive damages in an amount according to proof at

                                              10   the time of trial, as well as attorneys’ fees and costs, pursuant to statute.

                                              11                                                NINTH CLAIM
                                              12
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                                                                    WRONGFUL TERMINATION IN VIOLATION OF PUBLIC POLICY
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                                              13
                                                       110.        Plaintiff re-alleges the paragraphs above as if set forth fully herein.
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                                              14

                                              15
                                                       111.        This Court has jurisdiction over this claim pursuant to the public policy and common

                                              16   law of the State of California, pursuant to Tameny v. Atlantic Richfield Company, 27 Cal. 3d
                                              17
                                                   167(1980).
                                              18
                                                       112.        Defendant terminated Plaintiff’s employment based upon Plaintiff having a protected
                                              19

                                              20   characteristic, i.e., Plaintiff’s medical condition in the form of cancer, and/or engaging in a protected

                                              21   activity, as alleged herein.
                                              22
                                                       113.        Plaintiff is informed and believes and, based thereon, alleges that Defendant’s
                                              23

                                              24   conduct, as described herein, was substantially motivated by Plaintiff’s cancer and/or engaging in a

                                              25
                                                   protected activity, as alleged herein. When Plaintiff was not able to meet AILI’s sales quota, that is
                                              26

                                              27   according to his managers and supervisors, Plaintiff’s immediate manager informed Plaintiff that

                                              28

                                                                                                     - 25 –
                                                                                                   COMPLAINT
                                               Case 5:20-cv-00049-JGB-SP Document 1 Filed 01/08/20 Page 26 of 41 Page ID #:26




                                               1   AILI’s Ontario Office Management had said, in connection to Plaintiff’s medical condition, that
                                               2
                                                   “other agents had gone through cancer and worked and did well.”
                                               3

                                               4       114.        Plaintiff alleges that a substantial motivating factor for his termination was his cancer
                                               5
                                                   condition and recovery at the time of his employment with AILI. The cancer treatment and recovery
                                               6

                                               7   of removal of Plaintiff’s kidney affected Plaintiff’s not meeting AILI’s imposed sales quotas.
                                               8
                                                   Plaintiff was qualified for the position as a sales representative for AILI and was performing
                                               9

                                              10   competently in such position and continued to produce business for Defendant notwithstanding his
                                              11
                                                   medical condition. Plaintiff however was under Defendant’s threat of termination and eventually
                                              12
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                                              13   terminated by Defendant because, according to AILI, “other agents had gone through cancer and
         THE REYES LAW FIRM




                                              14
                                                   worked and did well.”
                                              15

                                              16       115.        The conduct of Defendant described herein above was outrageous and was
                                              17
                                                   executed with malice, fraud and oppression, and with conscious disregard for Plaintiff’s rights,
                                              18
                                                   and further, with the intent, design and purpose of injuring Plaintiff.
                                              19
                                                       116.        As a proximate result of Defendant’s wrongful acts, Plaintiff has suffered, and
                                              20

                                              21   continues to suffer, substantial losses incurred in seeking substitute employment and in earnings,

                                              22   bonuses, deferred compensation, and other employment benefits; and has suffered,
                                              23
                                                   and continues to suffer, emotional distress in an amount according to proof at the time of trial.
                                              24
                                                       117.        Defendant, through their officers, managing agents, and/or their supervisors,
                                              25
                                                   authorized, condoned and/or ratified the unlawful conduct described herein above. By reason
                                              26

                                              27   thereof, Plaintiff is entitled to an award of punitive damages in an amount according to proof at

                                              28   the time of trial, as well as attorneys’ fees and costs, pursuant to statute.
                                                                                                     - 26 –
                                                                                                   COMPLAINT
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                                               1                                              TENTH CLAIM
                                               2
                                                                                DISCRIMINATION AND HARASSMENT
                                               3
                                                      118.        Plaintiff re-alleges the paragraphs above as if set forth fully herein.
                                               4

                                               5
                                                      119.        At all times mentioned herein, Defendant was and is an employer within the meaning

                                               6   of the California Fair Employment and Housing Act (Cal. Govt. Code §§ 12940 et seq.) (“FEHA”) and
                                               7
                                                   Plaintiff was an employee within the meaning of FEHA. This claim is brought pursuant to FEHA, and
                                               8
                                                   the corresponding regulations promulgated by the California Department of Fair Employment and
                                               9

                                              10   Housing. Defendant regularly and systematically do business in the State of California and is subject

                                              11   to suit under FEHA in that Defendant regularly employed five or more persons.
                                              12
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                                                      120.        Under FEHA and the common law of the State of California, there is a fundamental
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                                              13
                                                   and well-established public policy against discrimination, harassment or retaliation based on the
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                                              14
                                                   fact that the employee has a protected characteristic. It is an unlawful employment practice to take
                                              15

                                              16   any adverse employment action motivated by the fact that an employee has a protected

                                              17   characteristic. This public policy is embodied in the Constitution of the State of California and
                                              18
                                                   California Statutory law, including but not limited to Government Code § 12940.
                                              19
                                                   Jurisdiction is invoked in this court pursuant to FEHA and the public policy and common law of
                                              20
                                                   the State of California, pursuant to Tameny v. Atlantic Richfield Company, 27 Cal. 3d 167 (1980)
                                              21

                                              22   and Rojo v. Kliger, 52 Cal. 3d 65(1990).

                                              23      121.        An “employer” includes “any person regularly employing one or more persons or
                                              24
                                                   regularly receiving the services of one or more persons providing services pursuant to a contract,
                                              25
                                                   or any person acting as an agent of an employer, directly or indirectly, the state, or any political
                                              26
                                                   or civil subdivision of the state, and cities.” Gov’t Code § 12940(j)(4).
                                              27

                                              28      122.        Regarding discrimination, California Government Code § 12940(a)

                                                                                                    - 27 –
                                                                                                  COMPLAINT
                                               Case 5:20-cv-00049-JGB-SP Document 1 Filed 01/08/20 Page 28 of 41 Page ID #:28




                                               1   provides that it is an unlawful employment practice: “For an employer, because of the race, religious
                                               2
                                                   creed, color, national origin, ancestry, physical disability, mental disability, medical condition,
                                               3
                                                   genetic information, marital status, sex, gender, gender identity, gender expression, age, sexual
                                               4

                                               5
                                                   orientation, or military and veteran status of any person, to refuse to hire or employ the person or to

                                               6   refuse to select the person for a training program leading to employment, or to bar or to discharge

                                               7   the person from employment or from a training program leading to employment, or to
                                               8
                                                   discriminate against the person in compensation or in terms, conditions, or privileges of
                                               9
                                                   employment.”
                                              10
                                                      123.        In connection to harassment, California Government Code section 12940(j)(1) states
                                              11

                                              12   that it is an unlawful employment practice : “For an employer, labor organization, employment
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                                              13   agency, apprenticeship training program or any training program leading to employment, or any other
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                                              14
                                                   person, because of race, religious creed, color, national origin, ancestry, physical disability, mental
                                              15
                                                   disability, medical condition, genetic information, marital status, sex, gender, gender identity, gender
                                              16
                                                   expression, age, sexual orientation, or military and veteran status, to harass an employee, an
                                              17

                                              18   applicant, an unpaid intern or volunteer, or a person providing services pursuant to a

                                              19   contract. Harassment of an employee, an applicant, an unpaid intern or volunteer, or a person
                                              20
                                                   providing services pursuant to a contract by an employee, other than an agent or supervisor, shall be
                                              21
                                                   unlawful if the entity, or its agents or supervisors, knows or should have known of this conduct and
                                              22
                                                   fails to take immediate and appropriate corrective action. An employer may also be responsible for
                                              23

                                              24   the acts of nonemployees, with respect to sexual harassment of employees, applicants, unpaid interns

                                              25   or volunteers, or persons providing services pursuant to a contract in the workplace, where the
                                              26   employer, or its agents or supervisors, knows or should have known of the conduct and fails to take
                                              27
                                                   immediate and appropriate corrective action. In reviewing cases involving the acts of nonemployees,
                                              28

                                                                                                    - 28 –
                                                                                                  COMPLAINT
                                               Case 5:20-cv-00049-JGB-SP Document 1 Filed 01/08/20 Page 29 of 41 Page ID #:29




                                               1   the extent of the employer's control and any other legal responsibility that the employer may have
                                               2
                                                   with respect to the conduct of those nonemployees shall be considered. An entity shall take all
                                               3
                                                   reasonable steps to prevent harassment from occurring. Loss of tangible job benefits shall not be
                                               4

                                               5
                                                   necessary in order to establish harassment.” This is a claim for relief arising from Defendant’s

                                               6   causing, and its failure to prevent, medical condition discrimination and harassment against Plaintiff.

                                               7      124.        As alleged above, Plaintiff was entitled to protection under FEHA because Plaintiff
                                               8
                                                   is an employee who has a protected characteristic, as in this case, a medical condition because of
                                               9
                                                   Plaintiff’s cancer while employed at AILI. Thus, Plaintiff was entitled to FEHA’s protection
                                              10
                                                   pursuant to California Government Code sections 12940 et seq.
                                              11

                                              12      125.        Defendant was aware that Plaintiff was an employee who had a protected
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                                              13   characteristic. Pursuant to California Government Code section 12940(a), Defendant was
         THE REYES LAW FIRM




                                              14
                                                   prohibited from taking any adverse employment action motivated by the fact that an employee
                                              15
                                                   has a protected characteristic.
                                              16
                                                      126.        At all times mentioned herein, Plaintiff was qualified for the position he held and
                                              17

                                              18   was performing competently in the position. Furthermore, Plaintiff was willing and able to

                                              19   perform the duties and essential functions of his position with or without a reasonable
                                              20
                                                   accommodation.
                                              21
                                                       127.       Plaintiff alleges that a substantial motivating factor for his termination was his cancer
                                              22
                                                   condition at the time of his employment with AILI. The cancer treatment and recovery of removal of
                                              23

                                              24   Plaintiff’s kidney affected Plaintiff’s not meeting AILI’s sales quotas. Plaintiff was qualified for the

                                              25   position as a sales representative for AILI and was performing competently in such position and
                                              26   continued to produce business for Defendant notwithstanding his medical condition, however,
                                              27

                                              28

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                                                                                                 COMPLAINT
                                               Case 5:20-cv-00049-JGB-SP Document 1 Filed 01/08/20 Page 30 of 41 Page ID #:30




                                               1   because of Plaintiff’s Cancer disease, medication and secondary effects, Plaintiff was not able to
                                               2
                                                   meet AILI’s imposed sales quota.
                                               3
                                                       128.          Plaintiff was under Defendant’s threat of termination and eventually terminated by
                                               4

                                               5
                                                   Defendant because, according to AILI, “other agents had gone through cancer and worked and did

                                               6   well.”

                                               7       129.          Defendant’s discriminatory and harassing actions against Plaintiff, as alleged above,
                                               8
                                                   including his termination of employment, constituted unlawful discrimination in employment because
                                               9
                                                   Plaintiff was an employee that had a protected characteristic, in violation of California Government
                                              10
                                                   Code section 12940.
                                              11

                                              12       130.          Plaintiff is informed and believes and, based thereon, alleges that Defendant’s
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                                              13   conduct, as described herein, was substantially motivated by the fact that Plaintiff had a protected
         THE REYES LAW FIRM




                                              14
                                                   characteristic.
                                              15
                                                       131.          As a direct and proximate result of the actions of Defendant, including the
                                              16
                                                   discrimination and harassment against Plaintiff as described herein, Plaintiff has suffered and will
                                              17

                                              18   continue to suffer pain an extreme and severe mental anguish and emotional distress. Plaintiff has

                                              19   further suffered and will continue to suffer a loss of earnings and other employment benefits.
                                              20
                                                   Accordingly, Plaintiff is entitled to general compensatory damages in amounts to be proven at trial.
                                              21
                                                       132.          By discriminating against and harassing Plaintiff in violation of Government Code
                                              22
                                                   § 12940, Defendant acted willfully, oppressively, maliciously and with conscious disregard
                                              23

                                              24   for Plaintiff’s rights, and with the intent to annoy, harass or injure Plaintiff, in violation of

                                              25   California Civil Code § 3294, such that Plaintiff is entitled to recovery of punitive damages
                                              26   in an amount according to proof at trial.
                                              27

                                              28

                                                                                                     - 30 –
                                                                                                   COMPLAINT
                                               Case 5:20-cv-00049-JGB-SP Document 1 Filed 01/08/20 Page 31 of 41 Page ID #:31




                                               1   158. Upon information and belief, one or more of Defendant’s managing agents committed,
                                               2
                                                   authorized, or ratified the wrongful conduct. As such, punitive damages are warranted against
                                               3
                                                   Defendant.
                                               4

                                               5
                                                      133.        Plaintiff seeks her attorneys’ fees and costs pursuant to California Government

                                               6   Code section 12965(b).

                                               7                                           ELEVENTH CLAIM
                                               8
                                                    FAILURE TO PREVENT AND INVESTIGATE DISCRIMINATION AND HARASSMENT
                                               9
                                                      134.        Plaintiff re-alleges the paragraphs above as if set forth fully herein.
                                              10
                                                      135.        Under California law, there is a fundamental and well-established public policy
                                              11

                                              12   against taking any adverse employment action motivated by the fact that an employee has a
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                                              13   protected characteristic.
         THE REYES LAW FIRM




                                              14
                                                      136.        Under the Fair Employment and Housing Act (“FEHA”), it is an unlawful
                                              15
                                                   employment practice to take any adverse employment action motivated by the fact that an
                                              16
                                                   employee has a protected characteristic. The foregoing public policy is embodied in the Constitution
                                              17

                                              18   of the State of California and California Statutory law, including but not limited to Gov’t. Code §

                                              19   12940.
                                              20
                                                      137.        Jurisdiction is invoked in this court pursuant to FEHA and the public policy and
                                              21
                                                   common law of the State of California, pursuant to Tameny v. Atlantic Richfield Company, 27 Cal. 3d
                                              22
                                                   167 (1980) and Rojo v. Kliger, 52 Cal. 3d 65 (1990).
                                              23

                                              24      138.        As alleged above, Plaintiff was entitled to protection under FEHA based on the

                                              25   fact that Plaintiff is an employee who had a protected characteristic. Thus, Plaintiff was entitled to
                                              26   FEHA’s protection pursuant to California Government Code section 12940 et seq.
                                              27
                                                      139.        Defendant was aware that Plaintiff was an employee who had a protected
                                              28

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                                                                                                  COMPLAINT
                                               Case 5:20-cv-00049-JGB-SP Document 1 Filed 01/08/20 Page 32 of 41 Page ID #:32




                                               1   characteristic, and at all times mentioned herein, Defendant was an employer within the meaning of
                                               2
                                                   FEHA and Plaintiff was an employee within the meaning of FEHA.
                                               3
                                                       140.       This claim is brought pursuant to FEHA, and the corresponding regulations
                                               4

                                               5
                                                   promulgated by the California Department of Fair Employment and Housing. Defendant regularly

                                               6   and systematically do business in the State of California and is subject to suit under FEHA in that

                                               7   Defendant regularly employed five or more persons.
                                               8
                                                      141.        Under FEHA, including California Government Code section 12940(k), and the
                                               9
                                                   common law of the State of California, Defendant owe to Plaintiff a duty to take all reasonable
                                              10
                                                   steps necessary to investigate or prevent harassment and discrimination.
                                              11

                                              12      142.        California Government Code section 12940(j)(1) provides that it is an unlawful
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                                              13   employment practice: “For an employer, … or any other person, because of race, religious creed,
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                                              14
                                                   color, national origin, ancestry, physical disability, mental disability, medical condition, genetic
                                              15
                                                   information, marital status, sex, gender, gender identity, gender expression, age, sexual orientation, or
                                              16
                                                   military and veteran status, to harass an employee, an applicant, an unpaid intern or volunteer, or a
                                              17

                                              18   person providing services pursuant to a contract. Harassment of an employee, an applicant, an unpaid

                                              19   intern or volunteer, or a person providing services pursuant to a contract by an employee, other than
                                              20
                                                   an agent or supervisor, shall be unlawful if the entity, or its agents or supervisors, knows or should
                                              21
                                                   have known of this conduct and fails to take immediate and appropriate corrective action. An
                                              22
                                                   employer may also be responsible for the acts of nonemployees, with respect to sexual harassment of
                                              23

                                              24   employees, applicants, unpaid interns or volunteers, or persons providing services pursuant to a

                                              25   contract in the workplace, where the employer, or its agents or supervisors, knows or should have
                                              26   known of the conduct and fails to take immediate and appropriate corrective action. In reviewing
                                              27
                                                   cases involving the acts of nonemployees, the extent of the employer’s control and any other legal
                                              28

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                                                                                                  COMPLAINT
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                                               1   responsibility that the employer may have with respect to the conduct of those nonemployees shall be
                                               2
                                                   considered. An entity shall take all reasonable steps to prevent harassment from occurring. Loss of
                                               3
                                                   tangible job benefits shall not be necessary in order to establish harassment.”
                                               4

                                               5
                                                     143. On information and belief, Plaintiff complained about the harassment and discrimination to

                                               6   one of Plaintiff’s managers and AILI’s Ontario Office Management. Nonetheless, Defendant did not

                                               7   investigate Plaintiff’s complaints or took action to stop the harassment and discrimination.
                                               8
                                                      144.        Despite Defendant’s knowledge of Plaintiff’s complaints, Defendant failed to
                                               9
                                                   take immediate and appropriate corrective action to prevent discrimination, retaliation, and
                                              10
                                                   harassment. Defendant similarly failed to take all reasonable steps to prevent discrimination from
                                              11

                                              12   occurring.
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                                              13      145.        Defendant knew or should have known about the discrimination and harassment
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                                              14
                                                   against Plaintiff. Defendant failed to take immediate and appropriate corrective action to prevent
                                              15
                                                   discrimination, retaliation, and harassment. Defendant similarly failed to take all reasonable steps
                                              16
                                                   to prevent discrimination from occurring.
                                              17

                                              18      146.        On information and belief, Defendant does not provide adequate anti-discrimination

                                              19   training to their workforce, which results in unlawful discrimination, unlawful harassment,
                                              20
                                                   unlawful retaliation and related violations against Plaintiff.
                                              21
                                                      147.        Because of Defendant’s failure to prevent and investigate harassment and
                                              22
                                                   discrimination, Plaintiff suffered adverse employment actions, including termination of
                                              23

                                              24   employment.

                                              25      148.        Plaintiff is informed and believes and thereon alleges that, as a direct and
                                              26   proximate result of Defendant’s willful, knowing, and intentional wrongful conduct, Plaintiff has
                                              27
                                                   suffered and continues to suffer damages in an amount subject to proof, but which are in excess
                                              28

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                                                                                                  COMPLAINT
                                               Case 5:20-cv-00049-JGB-SP Document 1 Filed 01/08/20 Page 34 of 41 Page ID #:34




                                               1   of the jurisdictional minimum of this Court, and which include, but are not limited to, mental
                                               2
                                                   distress, anguish, indignation, humiliation, depression, anxiety, fear, loss of sleep, loss of appetite,
                                               3
                                                   and body-aches. Plaintiff has also suffered from a loss of earnings, other employment benefits
                                               4

                                               5
                                                   and job opportunities, accrued but unpaid salary bonuses and benefits (including pre-judgment

                                               6   interest thereon), front pay, back pay, severance pay, and other monetary damages. Plaintiff is

                                               7   thereby entitled to general and compensatory damages in an amount to be proven at trial.
                                               8
                                                      149.        Plaintiff seeks attorneys’ fees and costs pursuant to California Government Code
                                               9
                                                   section 12965(b).
                                              10
                                                      150.        Defendant’s acts alleged herein are malicious, oppressive, despicable, and in
                                              11

                                              12   conscious disregard of Plaintiff’s rights. Upon information and belief, one or more of Defendant’s
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                                              13   managing agents committed, authorized, or ratified the wrongful conduct. As such, punitive
         THE REYES LAW FIRM




                                              14
                                                   damages are warranted against Defendant.
                                              15
                                                                                             TWELFTH CLAIM
                                              16
                                                                       FAILURE TO PROVIDE REASONBLE ACCOMODATION
                                              17

                                              18      151.        Plaintiff re-alleges the paragraphs above as if set forth fully herein.

                                              19      152.        California Government Code section 12940(m)(1) provides that it shall be
                                              20
                                                   unlawful “[f]or an employer or other entity covered by this part to fail to make reasonable
                                              21
                                                   accommodation for the known physical or mental disability of an applicant or employee.”
                                              22
                                                      153.        As alleged above, and at all relevant times hereto, Plaintiff has suffered from a
                                              23

                                              24   medical condition pursuant to California Government Code sections 12940 et seq. Defendant was

                                              25   aware of Plaintiff’s disability and Defendant failed to provide reasonable accommodations with
                                              26   respect to Plaintiff’s needs based on his disability.
                                              27
                                                      154.        At all times mentioned herein, Plaintiff was willing and able to perform the duties
                                              28

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                                                                                                   COMPLAINT
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                                               1   and functions of his position if Defendant had provided reasonable accommodations. Defendant
                                               2
                                                   could have provided reasonable accommodations for Plaintiff’s disability without causing any
                                               3
                                                   danger to Plaintiff’s or any other person’s health or safety, nor would it have created an undue
                                               4

                                               5
                                                   hardship to the operation of Defendant’s business.

                                               6      155.        As a result of Defendant’s acts and omissions alleged above, Plaintiff suffered

                                               7   injuries and damages in an amount according to proof at trial.
                                               8
                                                      156.        As a proximate result of Defendant’s wrongful conduct, Plaintiff was caused to
                                               9
                                                   suffer, and continues to suffer, damages in an amount subject to proof, but which are in excess of
                                              10
                                                   the jurisdictional minimum of this Court, and which include, but are not limited to, humiliation,
                                              11

                                              12   anxiety, severe emotional distress, worry, fear, front pay, back pay, severance pay, among others.
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                                              13      157.        By discriminating against Plaintiff and refusing to provide his reasonable
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                                              14
                                                   accommodations in violation of Government Code section 12940(m), Defendant acted willfully,
                                              15
                                                   oppressively, maliciously and with conscious disregard for Plaintiff’s rights, and with the intent
                                              16
                                                   to annoy, harass or injure Plaintiff, in violation of California Civil Code section 3294, such that
                                              17

                                              18   Plaintiff is entitled to recovery of punitive damages in an amount according to proof at trial.

                                              19      158.        Upon information and belief, one or more of Defendant’s managing agents
                                              20
                                                   committed, authorized, or ratified the wrongful conduct. As such, punitive damages are warranted
                                              21
                                                   against Defendant.
                                              22
                                                      159.        Plaintiff seeks her attorneys’ fees and costs pursuant to California Government
                                              23

                                              24   Code section 12965(b).

                                              25                                  THIRTEENTH CAUSE OF ACTION
                                              26                        FAILURE TO ENGAGE IN INTERACTIVE PROCESS
                                              27
                                                      160.        Plaintiff re-alleges the paragraphs above as if set forth fully herein.
                                              28

                                                                                                    - 35 –
                                                                                                  COMPLAINT
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                                               1       161.        Government Code section 12940(n) provides that it is unlawful for an employer to
                                               2
                                                   “fail to engage in a timely, good faith, interactive process with the employee to determine effective
                                               3
                                                   reasonable accommodations, if any…”
                                               4

                                               5
                                                       162.        Plaintiff was entitled to Fair Employment and Housing Act (“FEHA”)’s protection

                                               6   pursuant to California Government Code sections 12940 et seq. because Plaintiff had a medical

                                               7   condition.
                                               8
                                                       163.        Defendant was aware that Plaintiff had a disability and Defendant failed to engage in a
                                               9
                                                   timely, good faith, interactive process with Plaintiff to determine effective reasonable
                                              10
                                                   accommodations for Plaintiff’s disability, if any.
                                              11

                                              12       164.        As a consequence of Defendant’s acts and omissions alleged above, Plaintiff suffered
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                                              13   injuries and damages in an amount according to proof at trial.
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                                              14
                                                       165.        As a proximate result of Defendant’s wrongful conduct, Plaintiff was caused to
                                              15
                                                   suffer, and continues to suffer, damages in an amount subject to proof, but which are in excess of
                                              16
                                                   the jurisdictional minimum of this Court, and which include, but are not limited to, humiliation,
                                              17

                                              18   anxiety, severe emotional distress, worry, fear, accrued but unpaid salary bonuses and benefits,

                                              19   including pre-judgment interest thereon, front pay, back pay, severance pay, among others.
                                              20
                                                       166.        By failing to engage in the interactive process in violation of Government Code
                                              21
                                                   section 12940(n), Defendant acted willfully, oppressively, maliciously and with conscious
                                              22
                                                   disregard for Plaintiff’s rights, and with the intent to annoy, harass or injure Plaintiff, in violation
                                              23

                                              24   of California Civil Code section 3294, such that Plaintiff is entitled to recovery of punitive

                                              25   damages in an amount according to proof at trial.
                                              26       167.        Defendant’s acts alleged herein are malicious, oppressive, despicable, and in
                                              27
                                                   conscious disregard of Plaintiff’s rights. Upon information and belief, one or more of Defendant’s
                                              28

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                                               1   managing agents committed, authorized, or ratified the wrongful conduct. As such, punitive
                                               2
                                                   damages are warranted against Defendant.
                                               3
                                                      168.        Plaintiff seeks her attorneys’ fees and costs pursuant to California Government
                                               4

                                               5
                                                   Code section 12965(b).

                                               6                                            FOURTEENTH CLAIM

                                               7
                                                                       INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                                               8
                                                      169.        Plaintiff re-alleges the paragraphs above as if set forth fully herein.
                                               9

                                              10      170.        Defendant’s conduct as set forth above in connection to Defendant’s unlawful

                                              11   retaliation, wrongful termination, discrimination and harassment, was extreme and outrageous,
                                              12
                                                   intentional and malicious, causing Plaintiff to suffer mental anguish, emotional distress, and was
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                                              13
                                                   done with a wanton and reckless disregard of the consequences to Plaintiff.
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                                              14
                                                      171.        As a proximate result of Defendant’s conduct, Plaintiff has suffered extreme
                                              15

                                              16   emotional distress including anger, fear and shock, and has suffered other harms which are capable of

                                              17   proof at trial, in excess of the minimum jurisdiction of this Court.
                                              18
                                                      172.        The extreme emotional distress suffered by Plaintiff was caused by Defendant’s
                                              19
                                                   conduct, and Defendant knew that their conduct was unlawful. Notwithstanding this knowledge,
                                              20
                                                   Defendant, with malice and oppression, subjected Plaintiff to cruel and unjust hardship in conscious
                                              21

                                              22   or reckless disregard of Plaintiff’s rights, so as to justify an award of exemplary and punitive

                                              23   damages to punish Defendant for their actions. Defendant’s conduct was committed by managing
                                              24   agents of the company and were ratified by managing agents of the company.
                                              25
                                                                                             FIFTEENTH CLAIM
                                              26
                                                                                      UNFAIR BUSINESS PRACTICES
                                              27

                                              28
                                                      173.        Plaintiff re-alleges the paragraphs above as if set forth fully herein.

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                                               1      174.         Defendant’s violations of California law, including Defendant’s violations of the
                                               2
                                                   Employment Laws and Regulations as alleged in this Complaint constitutes an unfair business
                                               3
                                                   practice in violation of California Business and Professions Code §§ 1700 et seq., because such
                                               4

                                               5
                                                   violations were done consistently and repeatedly, over a significant period of time, and in a

                                               6   systematic manner in detriment of Plaintiff’s rights.

                                               7      175.             Plaintiff brings this action for statutory relief, including, restitution of the
                                               8
                                                   amounts Defendant’s acquired through the unfair, unlawful, and fraudulent business practices
                                               9
                                                   described in this Complaint.
                                              10
                                                      176.        Defendant’s volitional conduct, as alleged in this Complaint, constitutes an unlawful
                                              11

                                              12   and/or fraudulent business practice, as set forth in the California Business and Professions Code §§
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                                              13   17200-17208.
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                                              14
                                                      177.        As a result of Defendant’s unfair business practices, Defendant has reaped unfair
                                              15
                                                   benefits in detriment and at Plaintiff’s expense.
                                              16
                                                     178. Defendant’s business practices were unfair as set forth herein, which in consequence provides
                                              17

                                              18   an independent basis to support this claim.

                                              19      179.        Due to the unfairness of Defendant’s practices, Defendant has created a policy of
                                              20
                                                   accepting an amount of collateral damage as a result to its business operations, rather than accepting
                                              21
                                                   the alternative costs of full compliance with fair, lawful, safe and honest business practices carried by
                                              22
                                                   responsible competitors and as set forth by written law and judicial determination.
                                              23

                                              24      180.        Defendant’s unfair business practices entitle Plaintiff to seek, among others,

                                              25   restitutionary relief, including, but not limited to orders that Defendant account for and restore
                                              26   unlawfully withheld compensation to Plaintiff, and discontinue certain unlawful employment
                                              27
                                                   practices, including the implementation of policies and procedures with the goal to prevent the legal
                                              28

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                                               1   violations and prevent serious injury or death as factually stated in this Complaint. Defendant’s
                                               2
                                                   unfair business practices also entitle Plaintiff to attorney’s fees and costs.
                                               3
                                                                                              SIXTEENTH CLAIM
                                               4

                                               5
                                                                                           DECLARATORY RELIEF

                                               6      181.            Plaintiff re-alleges the paragraphs above as if set forth fully herein.

                                               7      182.                   As a condition of employment, Plaintiff was required to sign the Contract,
                                               8
                                                   which states that “all disputes, claims, questions and controversies of any kind or nature arising out of
                                               9
                                                   or relating to this Contract, any alleged violation of any state or federal statute, regulation, law or
                                              10
                                                   order of any kind…including…claims for wrongful termination, discrimination, wage-and-hour
                                              11

                                              12   violations, or any other claim based on an alleged employment relationship…shall be submitted to
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                                              13   binding arbitration under the substantive rules of the Federal Arbitration Act (“FAA”)”.
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                                              14
                                                      183.            The unfair competition law (UCL), Bus. & Prof. Code, § 17200 et seq., addresses
                                              15
                                                   unfair competition, which means and includes any unlawful, unfair, or fraudulent business act or
                                              16
                                                   practice. In this regard, the UCL provides that any person who engages, has engaged, or proposes to
                                              17

                                              18   engage in unfair competition may be enjoined in any court of competent jurisdiction. The court may

                                              19   make such orders or judgments as may be necessary to prevent the use or employment by any person
                                              20
                                                   of any practice that constitutes unfair competition, as defined in this chapter, or as may be necessary
                                              21
                                                   to restore to any person in interest any money or property, real or personal, which may have been
                                              22
                                                   acquired by means of such unfair competition. Bus. & Prof. Code, § 17203.
                                              23

                                              24      184.            The California Supreme Court in McGill v. Citibank held that such arbitration

                                              25   provisions are “contrary to California public policy and is thus unenforceable under California law”.
                                              26   The Court further held that “the Federal Arbitration Act (FAA; 9 U.S.C. § 1 et seq.) does not preempt
                                              27

                                              28

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                                               1   this rule of California law or require enforcement of the waiver provision.” See McGill v. Citibank,
                                               2
                                                   N.A. (2017) 2 Cal.5th 945 [216 Cal.Rptr.3d 627, 393 P.3d 85].
                                               3
                                                      185.               Pursuant to California law, the agreement to arbitrate is no longer enforceable in
                                               4

                                               5
                                                   California and as result, Plaintiff may maintain this cause of action in court.

                                               6                                                   JURY DEMAND

                                               7            Plaintiff hereby demands a jury trial on al issues and causes of action set forth herein.
                                               8
                                                                                              PRAYER FOR RELIEF
                                               9
                                                            Wherefore, Plaintiff prays for the following relief:
                                              10
                                                      1.            For penalties pursuant to all provisions of the California Labor Code reference herein,
                                              11

                                              12            which provide for penalties as a consequence of Defendant’s conduct alleged herein;
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                                              13      2.            For costs of suit incurred herein and for reasonable attorney’s fees;
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                                              14
                                                      3.            For compensatory damages according to proof;
                                              15
                                                      4.            For compensation for all hours worked but not paid;
                                              16
                                                      5.            For general damages in amounts according to evidence but in no event in an amount
                                              17

                                              18            less than the jurisdictional or statutory limits;

                                              19      6.            For general damages, including emotional distress;
                                              20
                                                      7.            For special damages according to evidence;
                                              21
                                                      8.            For punitive damages in an amount appropriate to punish Defendant for their wrongful
                                              22
                                                            conduct and to set an example for others as allowed by law;
                                              23

                                              24      9.            For restitution of all monies due to Plaintiff from Defendant’s unlawful business

                                              25            practices;
                                              26      10.           For declaratory and injunctive relief where necessary, just and proper;
                                              27
                                                      11.           For pre-judgment and post-judgment interest as provided by law; and
                                              28

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                                               1      12.       For such other and further relief as this Court deems just and proper.
                                               2

                                               3

                                               4

                                               5
                                                   DATED: January 8th, 2020.                  Respectfully Submitted,

                                               6                                              THE REYES LAW FIRM

                                               7

                                               8

                                               9
                                                                                              Luis F. Reyes
                                              10                                              Attorney for Plaintiff
                                              11                                              The Reyes Law Firm
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                                              12
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